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Attorneys for Plaintiff,

KIETH C. SHELSTAD

UNITED STATES DISTRICT COURT
DISTRICT OF NEVADA

KIETH C. SHELSTAD, an individual,
CASE No.:

Plaintiff,

VS.

TGS AVIATION SERVICES, INC., a
domestic corporation, UNITED AIRLINES,
INC., a foreign Corporation; DOES 1 - 20;
ROE ENTITIES 1- 20,

Defendants.

 

 

COMPLAINT
DEMAND FOR JURY TRIAL
COMES NOW, Piaintiff, KlETH C. SHELSTAD (he:*einafter “Plainti f”), by and through his

attorneys of record, CARRIE E. HURTIK, ESQ., RACHEL L. SHELSTAD, ESQ., and RACHEL A.
SLOANE, ESQ., of the law finn HURTIK LAW & ASSOCIATES, and for his causes Of action against
Defendants, TGS AVIATION SERVICES, INC., and UNITED AIRLINES, INC. (hereinafter
collectively refen'ed to as, “Defendants”), and each of them, and Plaintiff hereby complains, alleges and
states as follows:

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NATURE OF ACTION

l. This action is brought pursuant to the Americans With Disabilities Act and the ADA
Aniendments Act (collectively referred to as “ADA”), seeking damages for the unlawful discrimination
and wrongful termination which Plaintiff was subjected to in the course of his employment with
Defendants and in connection with Defendants’ failure and refusal to engage in the interactive process
with him and failure and refusal to reasonably accommodate Plaintift`s disability in violation of the
ADA.

2. This action is also brought pursuant to the Age Discrimination in Employment Act
(“ADEA”), and other state tort claims, seeking damages for the unlawful employment discrimination
and retaliation on the basis of age which Plaintiff Was subjected to in the course of his employment with
Defendants, and in in connection with his discharge from employment by Defendants in violation of ,
ADEA.

JURISDICTION AND VENUE

3. The Court has jurisdiction over the lawsuit as the same arises under the ADA, 42 U.S.C.
§ 2000€-5. This Court also has jurisdiction over this lawsuit as the same arises in part under the Age
Discrimination in Employment Act, 29 U.S.C. § 621 et seq.

4. Plaintiff timely filed his Charge of discrimination with the U.S. Equal Employment
Opportunity Commission (“EEOC”) on February 26, 2015. On August 18, 2016, the EEOC issued
Plaintiff two Notices of Right to Sue respective Defendants, TGS AVIATION SERVICES, lNC., and
UNITED AlRLlNES, INC., upon Plaintift`s request Plaintiff has filed this lawsuit Within ninety (90)
days from receiving the Notices of Right to Sue. (See Exhibit “l” and “2” attached hereto and
incorporated herein by reference).

5. The unlawful employment practices alleged below were committed within the
jurisdiction of this Court, the United States District Couit for the District of Nevada, within Clark
County, State ofNevada.

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PARTIES
6. Plaintiff is a resident of Clark County, State of Nevada. At the time of Defendants’
retaliatory and discriminatory termination of Plaintiff’s employment, Plaintiff was sixty-one (61) years
of age.
7. Plaintiff is a qualified individual with a disability pursuant to the ADA. The primary

disability being impairment related to a stroke suffered by Plaintiff.

8. Plaintiffhas a limited impairment as a result of the stroke which directly impacted several
major life activities ~ walking, lifting, standing, and bending As a baggage porter, Plaintiff was required
to lift, stand, walk, and bend during the scope of his employment

9. Plaintiff s physical impairments qualify as a disability for ADA purpose> and Plaintiff is

disabled within the meaning of the statute.

10. Plaintiff, at all material times hereto, was able to perform the essential functions of his

job with reasonable accommodation

ll. Defendant, UNITED AIRLINES, INC., is now, and at the time of the events complained
of herein was, a foreign corporation operating and doing business in Nevada, with its principal place of

business in Chicago, lllinois.

12. Defendant, UNITED AIRLINES, lNC. has continuously had and, upon information and
belief, does now have at least fifteen (15) employees and is an “employer” within the meaning of that

term as defined by the ADA.
13. Defendant, TGS AVIATION SERVICES, INC. is and at the time of the events

complained of herein was, a Nevada corporation operating and doing business in Nevada with its
principal place of business in Las Vegas, Nevada. Upon information and belief Defendant, TGS
AVIATION SERVlCES, INC., was also doing business as “The Greatest Skycap, Inc.”

14. Defendant, TGS A'\/'lA'l`ION SERVICES, lNC. has continuously had and, upon
information and belief, does now have at least fifteen (15) employees and is an “employer” within the

meaning of that term as defined by the ADA.

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15. Defendant, TGS AVIATION SERVICES, lNC. is owned and operated by Steven C.
Burdick. Upon information and believe, Steven C. Burdick is the responsible party for the managing
and operating Defendant, TGS AVIATION SERVICES, lNC.

16. Upon information and belief, at all relevant times, Defeiidant, TGS AVIATION
SERVICES, INC. Was the partner, joint venture, alter~ego, successor company, agent, co-conspirator,
servant, and employee of Defendant, UNITED AIRLINES, lNC., and was acting at all relevant times
within the scope, purpose and authority of said partnership, joint venture, agency, service, employment
and conspiracy, and with the knowledge, consent, permission, acquiescence, and ratification of
Defendant, UNITED AlRLINES, lNC.

17. Upon information and belief, at all relevant times, Defendant, UNITED AIRLINES,
lNC., was the partner, joint venture, alter~ego, successor company, agent, co-conspirator, servant, and
employee of Defendant, TGS AVIATION SERVICES, lNC., and was acting at all relevant times within
the scope, purpose and authority of said partnership, joint venture, agency, service, employment, and
conspiracy, and with the knowledge, consent, permission, acquiescence, and ratification of Defendant,
TGS AVlATION SERVICES, INC.

18. The true names or capacities, whether individual, corporate, associate or otherwise of
Defendants DOES 1~20 and ROES 1~20, inclusive, are unknown to Plaintiff, who therefore sues said
Defendants by such fictitious names. Plaintiff is informed and believes and thereon alleges that each of
the Defendants designated herein as a DOE or ROE are responsible in some manner for the events and
happenings herein referred to and caused injury and damages proximate hereto to the Plaintiff as herein
alleged; that Plaintiff will ask leave of this Court to amend this Complaint to insert the true names and
capacities of Defendants DOES 1-20 and ROES 1~20, inclusive, when same have been ascertained by
Plaintiff, together with appropriate charging allegations, and to join such Plaintiff in this action

STATEMENT GF FACTS

19. Upon information and belief, Defendant, TGS AVIATION SERVICES, INC. provides

the following services, including without limitation: cleaning of interior aircrafts, baggage delivery,

group deliver, ticket assistance, sky cap services, and facility maintenance The services listed herein

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were primarily performed at McCarran international Airport (hereinafter “McCarran Airport”), located
at 5757 Wayne Newton Boulevard, Las Vegas, Nevada 89119.

20. Defendant, UNITED AIRLINES, lNC. operates at Terminal 3 of the McCan‘an Airport
including ticketing and baggage claim services (Sky Cap services).

21. The term “Sky Cap” refers to an individual whose duties includes: checking in airline
passengers for departing flights, checking baggage for passengers, and transferring passengers’ baggage
onto a conveyor belt, which was built for purpose of loading passengers’ baggage onto departing airline
flights

22. Defendant, TGS AVIATION SERVICES, lNC., contracts with major airlines, including
Defendant, UNlTED AIRLINES, lNC. to provide Sky Cap services

23. Upon information and belief, and during all relevant times herein, Defendant, _TGS
AVIATION SERVICES, INC. entered into an agreement with Defendant, UNITED AlRLlNES, INC.
to provide sky cap services at Terminal 3.

24. Plaintiff began his employment with Defendant, TGS AVIATION SERVICES, INC. in
1 996.

25. Plaintiff was a dedicated and competent Sky Cap who received numerous compliments
from passengers of Defendant, UNlTED AlRLlNES, INC.

26. At all material times hereto, Plaintiff Was one of the oldest, if not the oldest, Sky Cap for
Defendant, TGS AVIATION SERVICES, INC. as it pertains to the services performed for Defendant,

UNITED AlRLlNES, lNC.
27. Upon information and belief, Defendant, TGS AVIATION SERVICES, INC. had

contracts with other airlines, including: Allegiant, U.S. Airways, Alaska, and Continental.

28. Defendant, TGS AVIATION SERVICES, INC. assigned Plaintiff to work shifts that
were performed solely at Terminal 3 of the l\/lcCarran Airport for Defendant, UNITED AIRLINES, lNC.

29. l\/lr. Steve C. Burdick had a policy of hiring family members and friends for positions
with Defendant, TGS AVlATlON SERVICES, lNC.

30. Regardless of experience, Mr. Steve C. Burdick would promote and assign desired shifts
to friends and family. This created a disadvantage for dedicated employees such as Plaintiff.

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31. Plaintift`s work environment at Terininal 3 was satisfactory until Plaintiff was assigned
to a supervisor named leremy Strong. l\/lr. Jeremy Strong was a friend of Mr. Burdick’s family, and
displayed an unprofessional bias towards older Sky Caps who were employed by Defendant, TGS
AVIATION SERVICES, INC.

32. ln .1 anuary, 2013, Plaintiff suffered a stroke during his work shift at Terminal 3. Rather
than contact medical personnel, Mr. Strong, the assigned supervisor for Plaintiff s work shift, accused
Plaintiff of being intoxicated and instructed him to go home. l\/lr. Strong failed to assess Plaintiff s
physical well-being, need for medical intervention, or Plaintiff s ability to safely drive home. l\/lr. Strong
exhibited a biased attitude of disrespect for Plaintiff due to his older age.

33. Plaintiff partially recovered from the impairments caused by the stroke and delay of
medical treatment, and returned to his position as a Sky Cap at Terminal 3 in February of 2013.

34. As a direct result of Plaintiff s stroke, and Mr. Strong’s stance on older employees,
Plaintiff sustained substantial limited impairment which directly impacted several major life activities ~
walking, lifting, standing, and bending As a Sky Cap, Plaintiff was required to lift, stand, walk, and
bend during the scope of his employment

35. After returning to his employment in February of 2013, Mr. Jeremy Strong exhibited a
biased attitude of disrespect for Plaintiff due to his older age and disability lt was this general bias
which l\/lr. Jeremy Strong and Mr. Steve C. Burdick used to collaborate their unjustified termination of
Plaintiffs employment on November 13, 2014.

36. Plaintiff did return to work after his stroke, but was met with limitations in moving
baggage long distances P,laintiff required additional time to transfer baggage long distances

37. laintiff was, at all times material heretc, able to perform the essential functions of his
job with reasonable accommodation by a swamper. A swamper is an individual employed by Defendant,
TGS AVIATION SERVICES, INC., and is tasked solely with transferring baggage for Sky Caps.
Defendant, TGS AVIATION SERVICES, INC. did away with a swamper position in order to save costs.

38. Although Plaintiff requested the assistance of a swamper, Plaintiff was required to lift,

stand, walk, and bend during the scope of his employment in the same manner as before his stroke

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39. Plaintiff was not accommodated by Defendant, TGS AVIATION SERVICES, lNC., and
was assigned less desirable work shifts, and assigned less than forty (40) hours per week.

40. Upon information and belief, for approximately a year from February, 2013, Defendant,
TGS AVIATION SERVICES, lNC. reduced Plaintiff’s work shifts in order in order to avoid the new
requirements of the Health Care Act. The majority of the employees at Defendant, TGS AVIATION
SERVICES, INC. aged over fifty (5 0) received reduced work shifts so that Defendant, TGS AVIATION
SERVICES, lNC. could avoid paying health care related costs. All of the work shifts were filled by

individuals under the age of fifty (50).

41. The age based harassment, discrimination and retaliation which Plaintiff was subjected
to consisted of disparate conduct by another member of Mr. Steve C. Burdick’s family, Brad Burdick.
l\/lr. Brad Biirdick is l\/lr. Steve C. Burdick’s nephew and would purposefully and intentionally interfere

with Plaintiff s work shifts.

42. Upon information and belief, l\/lr. Brad Burdick bullied, intimidated, and singled out
employees of Defendant, TGS AVlATlGN SERVICES, INC., in order to receive payouts for

assignment of favorable shifts.

43. Upon information and belief, Mr. Brad Burdick would assign a favorable shift to younger
impressionable employees, who would in turn pay l\/lr. Brad Burdick part of the tips received during the
work shift.

44. l\/lr. Brad Burdick knew that Plaintiff would not participate in this unethical and
unprofessional arrangement, and as a result Plaintiff lost his Saturday work shift to a younger
impressionable employee, Alex Massi.

45. Plaintiff is a mature individual who had life experience and knowledge, which would not
allow him to be intimated to pay l‘\/lr. Brad Burdick for more favorable work shifts.

46. Thereafter, members of the l\/lr. Steve Burdick’s family, who were employed by
Defendant, TGS AVIATION SERVICES, lNC. collaborated to terminate Plaintiff's employment due to

his age and impairment from the stroke.

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47. Despite the less desirable work shifts, Plaintiff continued to work for Defendant> TGS
AVlATlON SERVICES, lNC., until Defendant, TGS AVIATION SERVICES, lNC., lost a major
contract with Allegiant Airlines.

48. Prior to May of 2014, l\/lr. Burdick employed his daughter, Heidi Scott as a Sky Cap for
Allegiant Airlines. Ms. Scott was assigned desirable work shifts at Allegiant Airlines, despite her lack
of professionalism and experience

49. Upon information and belief, l\/ls. Scott made disparaging comments regarding Plaintiff s
age and disability l\/ls. Scott displayed an unprofessional bias towards older and disabled Sky Caps such
as Plaintiff.

50. Upon information and belief, on or about September of 2014, Defendant, TGS
AVIATION SERVICES, INC.,, lost a major contract with Allegiant Airlines because l\/ls. Scott’s
unprofessionalism and conduct towards a higher level employee of Allegiant Airlines. Ms. Scott lost
all of her shifts at Allegiant Airlines, along with all other employees of Defendant, TGS AVIATION
SERVICES, lNC., who worked as Sky Caps.

51. The age based harassment, discrimination and retaliation which Plaintiff was subjected
to, consisted of disparate discipline directed towards Plaintiff, including but not limited to, the following:
on October 11, 2014, Mr. Steven Burdick, without cause, suspended Plaintiff for two (2) weeks for
allegedly placing priority bag tags (allegedly a 850 value/per bag) on a the baggage of a UNITED
AIRLINES, INC.’S passenger.

52. lt was routine practice of Defendant, UNITED AIRLINES, lNC. that passengers with
“Elite Status” were not charged for priority bag tags.

53. Plaintiff denied all of Mr. Steve C. Burdick’s accusations because the UNITED
AlRLlNES, lNC.’S passenger showed Plaintiff an airline card evidencing “Elite Status,” which
warranted such a travel upgrade.

54. Regardless, if there was an infraction, suspension was not warranted Tliei'e is a clear
pattern of age discrimination by Defendant, TGS AVIATION SERVICES, INC., because younger
employees of Defendant, TGS AVIATION SERVICES, INC. committed the same alleged infraction,
and were not disciplined

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55. Plaintiff was punished for placing the priority bag tag, when no younger employee or
employee under forty (40) years of age was punished for the same conduct.

56. Plaintiff knew that Defendant, TGS AVIATION SERVICES, INC.’S employees under
the age of forty (40) years, did the same thing and did not receive discipline for it.

57. During Plaintiff s two (2) week suspension, Plaintiff was informed that he was suspended
in order for younger employees to receive Plaintiff’ s work shifts

58. Upon returning to work after Plaintiff’ s unjustified two (2) week suspension, Plaintiff
was targeted by l\/lr. Steven C. Burdick and Mr. Jeremy Strong.

59. Plaintiff was scrutinized more harshly than other employees outside his protected class,
during the performance of his employment duties

60. On November 10, 2014, a UNITED AIRLINES, INC.’S passenger, l\/lr. Robert
Rosenblatt, presented a travel card evidencing an “Elite Status” to Plaintiff, which entitled Mr. Robert
Rosenblatt to a priority bag tag. l\/lr. Rosenblatt tipped Plaintiff Ten Dollars and Zero Cents ($10.00),
and the matter was without incident

61. Tipping Sky Caps is a common practice, and is permitted

62. Defendant, TGS AVIATION SERVICES, INC.’S and Defendant, UNITED AlRLlNES,
INC.’S supervisor, Jereiny Strong was aware of this standard practice and Plaintiff performed his duties
as trained.

63. l\/lr. Strong, without cause, alleged that Mr. Rosenblatt was not entitled to the priority bag
tag, and falsely accused Plaintiff of accepting compensation for services he was not authorized to
perform.

64. Plaintiff did not solicit proceeds from a UNITED AlRLlNES, lNC.’S passenger, which
was contrary to Defendant, TGS AVIATION SERVICES, INC.’S policies

65. On November 13, 2014, Steve C. Bui'dick, refused to allow Plaintiff to have legal counsel

present during a meeting involving Plaintiff’ s employment, and the alleged incident on November 10,

2014.

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66. During the meeting, Mr. Steve C. Burdick attempted to bally arzdforce Plaintiff into

signing a dishonest account of facts which was titled “EMPLOYEE WARNING NOTICE,” and which

stated in pertinent pait:

ON NOVEMBER 10, 2014 YOU KNOWINGLY PLACED A PRIORITY
TAG ON A PAX ROBERT TODD ROSENBLATT (SIC) BAG AFTER
ACCEPTING A 810.00 'l`lP FOR THAT SERVICE. PAX ROSENBLATT
WAS NOT ENTITLED T() A PRIORITY TAG ~ YOU ACCEPTED
PAYMENT FOR PROVING A SERVICE YOU WERE NOT
AUTHORIZED TO PERFORM. UALl HAS REQUESTED YOU BE
REMOVED_ FROl\/l PRCVIDING SERVICE TO ANY OF THEIR
CUSTOMERS.

See Exhibit “3” - Employee Warning Notice.

67. Plaintiff refused to sign the “EMPLOYEE WARNING NGTICE,” and thereafter, he was
discharged at the direction of Defendants, UNITED AIRLINES, lNC. and TGS AVIATION
SERVICES, lNC.

68. The “EMPLOYEE WARNING NOTICE” clearly states that Plaintiff was discharged at
the direction and authority of Defendant, UNITED AIRLINES, lNC.

69. According to a response to Plaintiffs complaint submitted to the EEOC, Defendant,
UNlTED AIRLINES, INC., claims that it lacked any records of the Novernber 10, 2014, incident

70. According to a response to Plaintiff’ s complaint submitted to the EEOC, Defendant, TGS
AVIATION SERVICES, INC. claimed to have received an electronic mail from Defendant, UNITED
AIRLTNES, lNC. regarding a complaint they received from l\/lr. Rosenblatt regarding the November 10,
2014, incident

71. Defendant, TGS AVIATION SERVICES, lNC.’S response to the EEOC complaint is
inconsistent with the “EMPLOYEE WARNING NOTICE,” which stated that l\/lr. Strong had alleged
that Plaintiff accepted compensation for providing a service he was not authorized to perform

72. After Plaintiff was terminated, an employee of Defendant, TGS AVIA'l`lON SERVICES,
lNC.’S informed Plaintiff that l\/ls. Scott, a younger employee without any known disability, received
all of Plaintiff s work shifts, with the exception of one shift.

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COUNT 1 ~ DISCRIMINATION IN VIOLATION OF
THE AGE DISCRIMINATION IN EMPLOYMENT ACT
(Against all Defendants)

73. Plaintiff repeats and re alleges each and every allegation contained in Paragraphs 1
through 72 of Plaintift’s Complaint and incorporates them in this cause of action as though fully set
forth herein.

74. Defendants have engaged in unlawful employment practices in violation of the ADEA
by discriminating against Plaintiff based upon his age in the course and scope of his employment, with
regard to the terms and conditions of his employment, and by discharging and terminating him from his
employment based upon his age.

75. The effect of Defendants’ practices complained of above has been to deprive Plaintiff of
equal employment opportunities as set forth previously herein and has otherwise adversely affected
Plaintiff because of his age.

76. As a direct and proximate result of Defendants’ intentional discrimination Plaintiff has
sustained and suffered damages within the jurisdiction limits of the this Court for which he seeks
recovery pursuant to the ADEA including, but not limited to: (a) lost earnings, wages, earning capacity,
seniority, medical, health and other insurance benefits and other employer benefits in the past and into
the indefinite future; and (b) costs and attorney fees incurred as a result of being forced to file this suit.

77. Defendants acted willfully and with malice in engaging in discrimination against Plaintiff
based upon his age and, accordingly, Plaintiff is entitled to liquidated damages pursuant to the ADEA.

COUNT 2 - RETALIATION IN VIOLATION OF
THE AGE DISCRIMINATION IN EMPLOYMENT ACT
(Against all Defendants)
78. Plaintiff repeats and re-alleges each and every allegation contained in Paragraphs 1

through 77 of Plaintiffs Complaint and incorporates them in this cause of action as though fully set

forth herein.

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79. Defendants have engaged in unlawful employment practices in violation of the ADEA
by retaliating against Plaintiff based upon his age and by discharging and terminating him from his
employment in retaliation for his opposition to discrimination based upon his age.

80. The effect of Defendants’ practices complained of above has been to deprive Plaintiff of
equal employment opportunities as set forth previously herein and has otherwise adversely affected
Plaintiff because of his age.

81. As a direct and proximate result of Defendants’ intentional discriniination, Plaintiff has
sustained and suffered damages within the jurisdiction limits of the this Court for which he seeks
recovery pursuant to the ADEA including, but not limited to: (a) lost earnings, wages, earning capacity,
seniority, medical, health and other insurance benefits and other employer benefits in the past and into
the indefinite future; and (b) costs and attorney fees incurred as a result of being forced to file this suit.

82. Defendants acted willfully and with malice in engaging in discrimination against Plaintiff
based upon his age and, accordingly, Plaintiff is entitled to liquidated damages pursuant to the ADEA.

COUNT 3 ~ DISCRIMINATIGN IN VIOLATION OF
'I`HE AMERICANS WITH DISABILITIES ACT
(Against all Defendants)

83. Plaintiff repeats and re-alleges each and every allegation contained in Paragraphs 1
through 82 of Plaintiff’s Complaint and incorporates them in this cause of action as though fully set
forth herein.

84. Defendants wrongfully engaged in unlawful employment practices in violation of the
Americans With Disabilities Act by failing and/or refusing to engage in the interactive process with
Plaintiff, discriminating against Plaintiff because of his disability by assigning less desirable work shifts,
discharging Plaintiff from his employment

85. As a direct and proximate result of Defendants’ discrimination against Plaintiff, Plaintiff
sustained and suffered damages within the jurisdictional limits of this Court for which he seeks recovery
pursuant to the ADA including, but not limited to: (a) lost earnings, wages, earning capacity, and other

employer benefits; (b) mental and emotional distress, anguish, pain, anxiety and loss of enjoyment of

life in the past and into the indefinite future; (c) physical pain and suffering in the past and into the

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indefinite future; (d) medical costs and expenses; and (e) costs and attorney fees incurred as a result of
being forced to file this lawsuit; and (f) costs and attorney fees incurred as a result of being forced to
file this suit.

86. Defendants acted with malice and/or with reckless indifference to the federally protected
rights of Plaintiff by failing and refusing to engage iii the interactive process with Plaintiff, by failing
and refusing to reasonably accommodate Plaintiff s disability, by engaging in discrimination against
Plaintiff as set forth previously herein and, accordingly, Plaintiff is entitled to punitive damages pursuant
to the ADA.

C()UNT 4 ~ INTENTIONAL INFLICTION ()F EMGTIONAL DISTRESS
(Against all Defendants)

87. Plaintiff repeats and re-alleges each and every_allegation contained in Paragraphs 1
through 86 of Plaintiff s Complaint and incorporates them in this cause of action as though fully set
forth herein.

88. Defendants acted intentionally and/or recklessly in engaging and/or allowing conduct set
forth herein.

89. Defendants intended to cause Plaintiff severe emotional distress and/or acted with
reckless indifference to the fact that their conduct was certain to cause Plaintiff severe emotional distress

90. Defendants’ actions and conduct as set forth herein were extreme and outrageous so as
to go beyond all possible bounds of decency in a civilized conimunity, and Defendants actions caused
Plaintiff to suffer severe emotional distress.

91. As a direct and proximate result of Defendants’ extreme and outrageous conduct,
Plaintiff has sustained damages within the jurisdictional limits of this Court including, but not limited
to: (a) lost earnings, wages, earning capacity, seniority, medical, health and other insurance benefits and
other employer benefits in the past and into the indefinite future; (b) mental and emotional distress,
anguish, pain and anxiety in the past and into the indefinite future; (c) physical pain and suffering in the
past and into the indefinite future; (d) medical costs and expenses in the past and into the indefinite

future; and (e) costs and attorney fees incurred as a result of being forced to file this suit.

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92. Defendants’ conduct engaged in knowingly, willfully and maliciously and was engaged
in with a reckless disregard for Plaintiff`s rights and with conscious indifferences to the extreme risk of
harm posed to Plaintiff and was intended by the Defendants to be oppressive, malicious or fraudulent to
the Plaintiff

93. Pursuant to the NRS § 42.005, Plaintiff is entitled to punitive and/or exemplary damages
as a result of Defendants’ intentional infliction of emotional distress, to punish and/or make an example

to others.

WHEREFORE, Plaintiff, KIETH C. SHELSTAD, respectfully prays the Court for the following

relief:

1. For a declaratory judgment that the practices complained of herein are unlawful and
violated the ADEA;

2. For a declaratory judgment that the practices complained of herein are unlawful and
violated the ADA;

3. For back pay from November 10, 2014, to the date of judgment and an additional amount
as front pay;

4. For compensatory damages in an amount within the jurisdictional limits of this Court as
well as lost earnings, wages, salary, employment benefits and other compensation and
the interest on such sums;

5. For punitive damages in an amount to be determined to punish and/or make an example
of these Defendants;

6. F or liquidated damages pursuant to the ADEA;

7. For Attorney fees and costs pursuant to the ADEA and ADA;

8. Plaintist medical bills and expenses to be determined;

9. For Expert fees, if any, incurred by Plaintiff in pursuing this litigation;

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10. For costs of suit, including all pre-j udgmeiit and post-judgment interest;
11. For such other and further relief as the court may deem just and proper under the

circumstances

DATED this 21St day of November, 2016.

     

   

cARRI "E. HURTIK,LSQ.
`<s.c_,Nevada ear NO. 7028

7866 West Sahara Avenue
Las Vegas, Nevada 89117
(702) 966-5200 Telephone
(702) 966-5206 Facsimile
churtik@hurtiklaw.com
Attomeys for Plaintiff,
KIETH C. SHELSTAD

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Norlce ol= latent 'ro Sue assqu on Reouesr)
To; Kleth Shelstad g From: l.os Angeles Dlstrlct Office
8550 W. Cnarleston _Blvd., Sulte 102-295 255 E. '¥'emple St. 4th Fl_oor,
l.as Vegas, NV 89117 Los Ang`eles, CA 90012 `

i::l On behallr ofperson(s) aggrieved whose identity is
CONFIDENT/AL (29 CFR §1601.7(a})

 

EEOC Charge No. EEOC Representatlve Telephone No.
Karrie l... llllaeda,
348-2015-00590 ' State & l.ocal Coordlnator (213) 894-1100

 

(See also the additional information enclosed with this form )

Norlce To THE PERsoN AGeRlEon:

Tltle Vll of the Clvil Rights Act of 1964, the Americans with Dlsebllltles Act {ADA},'or~ the Genetlc information Nondlscrimination
Act (GlNA): Thls ls your Notlce of Right lo Sue, issued under 'l“ltle Vll, the ADA or GlNA based on the abovenumbered charge lt has

been issued at your request Your lawsuit under `l“itle Vll, the ADA or GINA must be filed in a federal or state court WlTHlN 90 DAYS
of your receipt of this notice; or your right lo sue based on this charge Will be lost. (The time limit for lilan suit based on a claim under

state law may be different.)
More than 180 days have passed since the filing of this charge

Less than 180 days have passed since the filing of this oharge, but l have determined that lt ls unlikely that the EEOC will
be able to complete its administrative processing within 180 days from the filing of this charge

The EEOC ls terminating its processing ofthis charge

UE l:lE

The EEOC will continue to process this charge

Age Dlscrimlnatlon in Employment Act (ADEA): You may sue under the ADEA at any time from 60 days alter the charge was filed until
90 days alter you receive notice that we have completed action on the charge ln this regard the paragraph marked below applies to
your case: l

Tlie EEOC is closing your case. Tberefore, your lawsuit under the ADEA must be nled in federal or state court Wl'l'l~llbl
90 DAYS of your receipt ot this Notlce. Otherwlse, your right to sue based on the above»numbered charge will be lost

H

The EEOC is continuing its handling of your ADEA cese. However, if 60 days have passed since the filing of the charge
you may tile suit in federal or slate court under the ADEA at this time.

l:l

Equal Pay Act (EPA): You already have the right to sue under the EPA (&llng en EEOC charge ls not required.) EPA suits must be brought
in federal or slate court within 2 years (3 years for willful violations) of the alleged EPA underpayment Thls means that backpay due for

any violations that occurred more than 2 years 13 yearsl before you file suit may not be collectible
lf you &le sult, based on this charge please send a copy of your court complaint to this office

a he Commlsslon

 

August 18, 2016

Enclosures(s) Rosa M_ Viramontes, (Date Mailed)

Dlstrlct Dlrector

CC: Angela l~lartman Rachel L. Shelstad, Esq.
Ofl’ice Adminlstrator HURTlK LAW & ASSOClATES
THE GREATEST SKY CAPS lNC. 7866 West Sahara Avenue
2518 E. Russell Road Las Vegas, NV 89117
Las Vegas, NV 89120

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EEoc Form ici-a iii/osi U,S. E:QUAL EMPLOYMENT GPPORTUNlTY COMM~.SION
Ne'rice or= Riei~n' 'ro Sue (/ssueo civ REQUEST)
TQ; i<ieih assisted r=mm; Los Angeies cream ornce' ` '
8550 West Charleston Blvd., Suite 102-295 -~ 255 E. Temple St. 401 Floor
Las Vegas, NV 89117 ` l.os Angeles, CA 90012

m On behalf ofperson(s) aggrieved whose identity is
CONFIDENT/AL (29 CFR §1601.7(a))

 

EEOC Charge No. EEOC Repi'esentalive Telephone No.
Karrie L. Nlaecla,
345-2015-00591 State & Local Coordinator (2“!3) 894-1100

 

(See. also the additional information enclosed Wiih this form,)

Norice To THE PEnsor~i Ascaievao: _ . _
'i`itie `v'ii of the Civil Rights Act of 1964, the Americans with Disabilities .A.ct (ADA), or the Genetic information lylendi,scljifl?ifl§§i_§n
Act {GlNA): This is your Notice of Right to Sue, issued under Title \/ll, the ADA or GlNA based on the above~numbered charge lt has

been issued at your request Your lawsuit under 'l'itle \/ll, the ADA or GlNA must be filed in a federal or state court WlTl~llN 90 DA‘*¢'S
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lt you tile suit, based on this charge, please send a copy of your court complaint to this ofhce.

alt :;e Commission
H/ / ' j i
O/§;l i/ August 18, 2016

Enclosures(s) Rosa M' V;ramontes’ (Date Mailed)
District Director

CC: Eliz;abeth Bolhouse, Esq.
HURTlK LAW & ASSOC|ATES
7866 West Sahara Avenue
Las Vegas, NV 8911 7

Human Resources
UNlTED AlRLlNES lNC.
P.O. Box 06649
Chicago, iL 60606

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